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 8                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                             EASTERN DIVISION
10
11   GINA ANN JOROMET,                  )          CASE NO.: EDCV 19-02441 GJS
                                        )
12                      Plaintiff,      )          ORDER AWARDING
                                        )          EAJA FEES
13                v.                    )
                                        )
14   ANDREW SAUL, Commissioner          )
     of Social Security Administration, )
15                                      )
                        Defendant.      )
16   ______________________________ )
17         Based upon the parties’ Stipulation for Award and Payment of Equal Access
18   to Justice Act (EAJA) Fees (“Stipulation”),
19         IT IS ORDERED that Plaintiff shall be awarded attorney fees under the
20   Equal Access to Justice Act, ("EAJA”) in the amount of ONE THOUSAND FIVE
21   HUNDRED FORTY-NINE DOLLARS and 12/cents ($1,549.12), as authorized by
22   28 U.S.C. § 2412 (d), and subject to the terms and conditions of the Stipulation.
23
24   DATED: October 2, 2020
25                                           /s/
                                     __________________________________
                                     HONORABLE GAIL J. STANDISH
26                                   UNITED STATES MAGISTRATE JUDGE
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